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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


                                                     §
 KRAEMER BROTHERS, LLC,                              §
                                                     §
                Plaintiff,                           §
                                                     §
         v.
                                                     §
                                                                               Case No. 23-cv-703
 CMR CONSTRUCTION & ROOFING OF                       §
 TEXAS, LLC, CMR CONSTRUCTION &                      §
 ROOFING, LLC, and STEVEN M. SOULE,                  §
                                                     §
                Defendants.                          §
                                                     §


                               STIPULATION FOR DISMISSAL


       WHEREAS, the parties entered into a written Settlement Agreement and Release

(“Settlement Agreement”);

       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between

the parties to this action, by their respective undersigned counsel, that:

       1.       Defendants’ counterclaims shall be dismissed with prejudice, and without costs or

fees to any party;

       2.      Plaintiff’s claims shall be dismissed without prejudice and without costs or fees to

any party, subject to Plaintiff’s rights under the Settlement Agreement, including the right to

reopen this action to enforce the terms of the Settlement Agreement if necessary; and

       3.      An order may be entered to the above effect without further notice.

                             [Signatures appear on the following page]
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Respectfully submitted this 31st day of January, 2025.

 VON BRIESEN & ROPER, S.C.                           QUARLES & BRADY LLP

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